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   16   Attorneys for Plaintiff and Counter Defendant, Viasat, Inc.
   17                               UNITED STATES DISTRICT COURT
   18                              SOUTHERN DISTRICT OF CALIFORNIA
   19
                                                       )   Case No.: 3:16-cv-00463-BEN-JMA
         Viasat, Inc.,                                 )
   20
         a Delaware corporation,
                                                       )   Opposition of Plaintiff and Counter-
   21                                                  )   Defendant Viasat, Inc. to Ex Parte
                                       Plaintiff
   22                    and Counter Defendant,        )   Application to Continue Final Pretrial
                                                       )   Conference and Related Deadlines
   23          v.                                      )
   24                                                  )    Dist. Judge: Hon. Roger T. Benitez
         Acacia Communications, Inc.,                  )    Hon. Magistrate Jan M. Adler
   25    a Delaware corporation,                       )
   26                                                  )    Case Initiated: January 21, 2016
                                     Defendant         )
   27                      and Counter Claimant,       )
   28
                                                            Viasat v. Acacia, 3:16-00463-BEN-JMA
             Opposition to Ex Parte Application to Continue Pre-Trial Conference and Related Deadlines
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    1          Plaintiff and Counter-Defendant Viasat, Inc. (“Viasat”) hereby opposes the
    2   Ex Parte Application To Continue Final Pretrial Conference and Related Deadlines
    3   of Defendant and Counter-Claimant Acacia Communications, Inc. (“Acacia”),
    4   Docket No. 181.
    5          Acacia has failed to show good cause for delaying the Final Pretrial
    6   Conference and related deadlines. This case has been pending since January 21,
    7   2016, and is now ready for trial. The parties have already exchanged pretrial
    8   disclosures not once, but twice. Docket Nos. 163, 167, 182, 183. When the Court
    9   granted Acacia’s last ex parte application seeking to delay this matter, Docket No.
   10   161, the Court noted that “No further continuances will be granted without good
   11   cause.” Docket No. 168. While Acacia argues that resolution of various pending
   12   motions may affect the parties’ pretrial preparations, that alone is not good cause for
   13   further delay.
   14          Viasat therefore respectfully requests that the Court deny Acacia’s Ex Parte
   15   Application to Continue the Upcoming Final Pretrial Conference and Related
   16   Deadlines. If the Court does grant Acacia’s Ex Parte Application, Viasat requests
   17   that the Court hold a case management conference on or before August 6, the
   18   current date of the Final Pretrial Conference, to discuss the timing and logistics of
   19   what Viasat expects to be at least a three-week jury trial.
   20
   21   Dated: July 10, 2018                       Respectfully Submitted,
   22
   23                                              s/ Kenneth M. Fitzgerald
        Matthew S. Warren                          Kenneth M. Fitzgerald
   24
        Patrick M. Shields                         David Beckwith
   25   Erika H. Warren                            Keith M. Cochran
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             Opposition to Ex Parte Application to Continue Pre-Trial Conference and Related Deadlines
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    1                              CERTIFICATE OF SERVICE
    2         I certify that today I am causing to be served the foregoing document by
    3   CM/ECF notice of electronic filing upon the parties and counsel registered as
    4   CM/ECF Users. I further certify that, to the extent they are not registered
    5   CM/ECF Users, I am causing the foregoing document to be served by electronic
    6   means via email upon counsel for Acacia Communications, Inc., per the agreement
    7   of counsel.
    8
    9   Dated: July 10, 2018                                 s/ Kenneth M. Fitzgerald
   10                                                        Kenneth M. Fitzgerald, Esq.

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             Opposition to Ex Parte Application to Continue Pre-Trial Conference and Related Deadlines
